930 F.2d 37
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.EFFECTIVE BUSINESS SYSTEMS, INC., Appellant,v.WDC SYSTEMS, INC., Appellee.
    No. 90-1491.
    United States Court of Appeals, Federal Circuit.
    Nov. 8, 1990.
    ORDER
    
      1
      Upon consideration of the unopposed motion of Effective Business Systems, Inc. to voluntarily dismiss its appeal,
    
    IT IS ORDERED THAT:
    
      2
      (1) The motion is granted and the appeal is dismissed.
    
    
      3
      (2) Each side is to bear its own costs.
    
    